                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

 DANIEL GARCIA,

                Plaintiff,

        v.                                           Case No. _____________________

 TESLA, INC.,

                Defendant.

                                  NOTICE OF REMOVAL


TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF WISCONSIN:

       Defendant TESLA, INC. (“Tesla”) hereby removes this case from the State of Wisconsin,

Milwaukee County Circuit Court, to the United States District Court for the Eastern District of

Wisconsin, pursuant to 28 U.S.C. section 1441, based upon federal question jurisdiction under 28

U.S.C. section 1331 and diversity jurisdiction as defined by 28 U.S.C. section 1332.

       The basis for removal is as follows:

       1.      On or about December 3, 2020, Plaintiff, Daniel Garcia, commenced this action in

the Milwaukee County Circuit Court for the State of Wisconsin, entitled Daniel Garcia v. Tesla,

Inc., Case Number 2020-CV-007066, alleging causes of action against Tesla in relation to his

October 25, 2018 purchase of a 2018 Tesla Model 3, VIN: 5YJ3E1EB3JF074921. A true and

correct copy of the Milwaukee County Court Case Details is attached hereto as Exhibit A.

       2.      The Summons and Complaint, a true and correct copy of which is attached hereto

as Exhibit B, was served on Tesla on December 15, 2020.

       3.      The Complaint alleges two causes of action, each arising under the Magnuson-

Moss Warranty Act, Chapter 15 U.S.C. section 2301, et. seq. Count one alleges breach of an



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express written warranty, and Count two, breach of implied warranties applicable under sections

2301(7) and 2308. (See Ex. B, Compl.)

       4.      Tesla filed its Answer in Milwaukee County Circuit Court on January 4, 2021,

which has been attached hereto as Exhibit C.

       5.      This Court has federal question jurisdiction under 28 U.S.C. section 1331 because

each cause of action arises under the federal Magnuson-Moss Warranty Act, 15 U.S.C. section

2301, et seq., and satisfies the necessary amount in controversy under that statute.

       6.      This Court also has original jurisdiction under 28 U.S.C. section 1332 and may be

removed to this Court pursuant to 28 U.S.C. section 1441(b) because it involves citizens of

different states, and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       7.      This Notice of Removal is timely filed as it is filed within thirty (30) days of Tesla’s

receipt of the “initial pleading setting forth the claim for relief upon which such action or

proceeding is based.” 28 U.S.C. § 1446(b)(1).

       8.      The Milwaukee County Circuit Court is located within the Eastern District of

Wisconsin, and Plaintiff is also located in the State of Wisconsin. Therefore, venue is proper

pursuant to 28 U.S.C. section 130 because this is the “district and division within which such action

is pending.” See 28 U.S.C. § 1446(a).

       9.      No previous application has been made for the relief requested herein.

       10.     Pursuant to 28 U.S.C. section 1446(d), a copy of this Notice of Removal is being

served upon counsel for Plaintiff, and a copy is being filed with the Clerk of the Milwaukee County

Circuit Court for the State of Wisconsin.




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I.      REMOVAL IS PROPER BECAUSE                           THIS     COURT        HAS      ORIGINAL
        JURISDICTION UNDER 28 U.S.C. § 1331

        A. Federal Question Jurisdiction under 28 U.S.C. § 1331

        11.     Federal district courts have original jurisdiction in actions “arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. An action “arises under”

federal law according to 28 U.S.C. section 1331, if federal law either creates the cause of action

or the plaintiff’s right to relief necessarily depends on resolution of a substantial question of federal

law. Franchise Tax Board v. Construction Laborers Vacation Trust 463 U.S. 1, 27-28 (1983).

        12.     This Court has original jurisdiction because each of Plaintiff’s two causes of action

“arises under” a federal statute, i.e., 15 U.S.C. § 2301, et seq., otherwise known as the Magnuson-

Moss Warranty Act.

        B. Amount in Controversy under 15 U.S.C. § 2301(d)(3)(B)

        11.     Section 2310(d)(1)(B) of the Magnuson-Moss Warranty Act states that a consumer

who is damaged by a warrantor’s failure to comply with a warranty “may bring suit for damages

and other legal and equitable relief in an appropriate district court of the United States, subject to

paragraph (3) of this subsection.” Paragraph (3) goes on to state that “[n]o claim shall be

cognizable in a suit brought under paragraph (1)(B) of this subsection . . . if the amount in

controversy is less than the sum or value of $50,000.00 (exclusive of interest and costs) computed

on the basis of all claims to be determined in this suit… .” 15 U.S.C. § 2310(d)(3)(B).

        12.     This Court has jurisdiction and removal is proper because the amount in

controversy exceeds $50,000.00, exclusive of interests and costs.




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       13.      Although the Complaint does not quantify the specific amount of damages sought

to be recovered by Plaintiff,1 it is facially apparent the amount in controversy exceeds $50,000 for

the following reasons:

             a. Plaintiff attached a copy of his Motor Vehicle Purchase Agreement to the

                Complaint. (See Ex. B, Compl. at Exhibit A.) The total sale price of the subject

                vehicle was $62,200.00. (See Ex.B, Compl. at ¶ 4.); Luckett v. Delta Airlines, Inc.,

                171 F.3d 295, 298 (5th Cir. 1999) (amount in controversy requirement may be

                established by showing that such damages are “facially apparent” from the

                plaintiff’s Complaint, or by setting forth facts in the notice of removal that support

                a finding of the requisite amount); Schimmer v. Jaguar Cars, Inc., 384 F.3d 402,

                406 (7th Cir. 2004) (quoting Uhl v. Thoroughbred Tech. & Telecomms., Inc., 309

                F.3d 978, 983 (7th Cir. 2002)) (“The amount in controversy ‘is determined by an

                evaluation of the controversy described in the plaintiff's complaint and the record

                as a whole, as of the time the case was filed.’ ”).

             b. The Complaint alleges that “shortly thereafter” Plaintiff’s purchase, the Model 3

                began to experience “defects” resulting in multiple repair attempts, and ultimately,

                Plaintiff’s revocation of acceptance. (See Ex. B., Compl. ¶¶ 3-4, 7-11(a-h), 16.)

             c. Plaintiff alleges further that he “suffered damages in accordance with section

                2310(d)(1),” and seeks “[d]iminution in value of the Model 3 or incurred and/or

                needed costs of repair and all incidental and consequential damages” and “[a]ll


1
  Wis. Stat. § 802.02(1m)(a) prohibits a demand for a specific amount of money as to tort claims.
But see also, Chase v. Shop "N Save Warehouse Foods, Inc., 110 F.3d 424, 428 (7th Cir. 1997) (if
state law prohibits plaintiff from praying for specific relief in complaint, federal district court may
look outside the pleadings to other evidence of jurisdictional amount in the record to determine if
amount in controversy requirement is met but “is limited to examining only that evidence of
amount in controversy that was available at the moment the petition for removal was file.”)

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                  reasonable attorneys’ fees, witness fees and all court costs and other fees

                  incurred[.]” (See Ex. B., Compl., “WHEREFORE,” following ¶¶ 30, 39.)

II.      REMOVAL IS ALSO PROPER BECAUSE THIS COURT HAS SUBJECT
         MATTER JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND 1441

         A. Diversity of Citizenship Exists

         14.      Upon information and belief, the Plaintiff is and was at the time this action was

filed, a citizen of the State of Wisconsin. (See Ex. B, Compl. at ¶ 1.)

         15.      A corporation is deemed to be a citizen both of the state in which it has its principal

place of business and of any state in which it is incorporated. 28 U.S.C. § 1332(c)(1).

         16.      Tesla is a corporation organized and existing under the laws of the State of

Delaware, with its principal place of business located in Palo Alto, California.

         17.      Accordingly, there is complete diversity of citizenship of the parties.

         B. The Amount in Controversy Exceeds $75,000

         18.      Although the Complaint does not quantify the specific amount of damages sought

to be recovered by Plaintiff,2 the amount in controversy exceeds $75,000, for the following

reasons:

               a. Plaintiff attached a copy of his Motor Vehicle Purchase Agreement to the

                  Complaint. (See Ex. B, Compl. at Exhibit A.) The total sale price of the subject

                  vehicle was $62,200.00. (See Ex.B, Compl. at ¶ 4.); Luckett v. Delta Airlines, Inc.,

                  171 F.3d 295, 298 (5th Cir. 1999) (amount in controversy requirement may be

                  established by showing that such damages are “facially apparent” from the

                  plaintiff’s Complaint, or by setting forth facts in the notice of removal that support

                  a finding of the requisite amount); Schimmer v. Jaguar Cars, Inc., 384 F.3d 402,



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    See supra note 1.
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                406 (7th Cir. 2004) (quoting Uhl v. Thoroughbred Tech. & Telecomms., Inc., 309

                F.3d 978, 983 (7th Cir. 2002)) (“The amount in controversy ‘is determined by an

                evaluation of the controversy described in the plaintiff's complaint and the record

                as a whole, as of the time the case was filed.’ ”).

             b. The Complaint alleges that “shortly thereafter” Plaintiff’s purchase, the Model 3

                began to experience “defects” resulting in multiple repair attempts, and ultimately,

                Plaintiff’s revocation of acceptance. (See Ex. B., Compl. ¶¶ 3-4, 7-11(a-h), 16.)

             c. Plaintiff alleges further that he “suffered damages in accordance with section

                2310(d)(1),” and seeks “[d]iminution in value of the Model 3 or incurred and/or

                needed costs of repair and all incidental and consequential damages” and “[a]ll

                reasonable attorneys’ fees, witness fees and all court costs and other fees

                incurred[.]” (See Ex. B., Compl., “WHEREFORE,” following ¶¶ 30, 39.)

                                          CONCLUSION

       19.      Based on the foregoing, all requirements for original jurisdiction under 28 U.S.C.

sections 1331, 1332, and 1441(b) have been met. Tesla therefore requests that this action now

pending against it in the Circuit Court of the State of Wisconsin, County of Milwaukee, be removed

to this Court, and that this Court assume complete jurisdiction in this matter.

       20.      This Notice of Removal is timely filed as it is filed within thirty (30) days of Tesla’s

receipt of the “initial pleading setting forth the claim for relief upon which such action or

proceeding is based.” 28 U.S.C. § 1446(b)(1).

       21.      The Milwaukee County Circuit Court is located within the Eastern District of

Wisconsin, and Plaintiff is also located in the State of Wisconsin. Therefore, venue is proper

pursuant to 28 U.S.C. section 130 because this is the “district and division within which such action

is pending.” 28 U.S.C. § 1446(a).

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       22.    No previous application has been made for the relief requested herein.

       23.    Defendant asserts a request for a trial by jury on all issues so triable, with formal

demand of same to be made in accordance with Federal Rules 38(b) and 81(c)(3)(B).

       24.    Tesla will promptly notify Plaintiff and the Circuit Court of this removal as required

by 28 U.S.C. section 1446(d).

                                             BOWMAN AND BROOKE LLP


Dated: January 14, 2021              By:     /s/ Roshan N. Rajkumar
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                                             ATTORNEYS FOR
                                             DEFENDANT TESLA, INC.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the forgoing document was served upon the following counsel of

record this 14th day of January 2021, by utilizing the CM/ECF system to email him at his

respective email address listed below:

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         Counsel for Plaintiff

                                                BOWMAN AND BROOKE LLP

                                                /s/ Roshan N. Rajkumar
                                                Roshan N. Rajkumar




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